       Case 1:17-cv-07499-BMC Document 10 Filed 02/07/18 Page 1 of 3 PageID #: 36




                                                                                                       KIRSTEN H. SMITH
                                                                                                Direct: (504) 846-7943
                                                                                                ksmith@sessions.legal

                                                     February 7, 2018

     Via ECF
     The Honorable Brian M. Cogan
     United States District Judge
     United States District Court
     Eastern District of New York

               Re:      Yuri Kolbasyuk v. Capital Management Services, LP, EDNY No. 17-cv-07499
                        Capital Management Services, LP’s Pre-Motion Conference Letter Regarding its
                        Proposed FED. R. CIV. P. 12(b)(6) Motion to Dismiss

     Dear Judge Cogan:
             SESSIONS, FISHMAN, NATHAN & ISRAEL represents defendant, Capital Management
     Services, LP (“CMS”) in the referenced lawsuit. CMS respectfully requests a pre-motion
     conference to discuss its proposed FED. R. CIV. P. 12(b)(6) Motion to Dismiss the complaint filed
     by plaintiff, Yuri Kolbasyuk.
                                      INTRODUCTION AND BACKGROUND
             This case one of the numerous lawsuits borne out of Avila v. Riexinger & Assocs., LLC,
     817 F.3d 72 (2d Cir. 2016), and its progeny. Plaintiff alleges CMS sent her a collection letter that
     violates Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., due to a
     purported deficiency in its interest and fee disclosure.
             Specifically, plaintiff’s claims are based on a July 21, 2017 letter from CMS that discloses
     interest and fees may continue to accrue on the debt, by using the verbatim “safe harbor” endorsed
     by the Second Circuit in Avila. The letter states in pertinent part:
             As of the date of this letter, you owe $5918.69. Because of interest, late charges,
             and other charges that may vary from day to day, the amount due on the day you
             pay may be greater. Hence, if you pay the amount shown above, an adjustment
             may be necessary after we receive your check, in which event we will inform you
             before depositing the check for collection. For more information, write the
             undersigned or call 1-877-335-6949.
     See ECF 1-3. This is the exact “safe harbor” language the Second Circuit advised debt collectors
     to use when interest or fees may be added to a debt in the future. See Avila, 817 F.3d at 77.
             Notwithstanding CMS’s use of the exact language endorsed by the Second Circuit in Avila,
     plaintiff claims CMS’s letter violates the FDCPA because it did not provide more information than

             Lakeway Two     Suite 200     3850 North Causeway Boulevard       Metairie, Louisiana   70002-7227
                                    (504) 828-3700   (504) 828-3737 F    www.sessions.legal
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 Case 1:17-cv-07499-BMC Document 10 Filed 02/07/18 Page 2 of 3 PageID #: 37




Yuri Kolbasyuk v. Capital Management Services, LP, EDNY Case No. 1:17-cv-07499-BMC
Capital Management Services, LP’s Pre-Motion Conference Letter re: Proposed Motion to Dismiss
February 7, 2018 – Page 2

what the Second Circuit said is necessary. Specifically, plaintiff alleges CMS was also required to
detail the amount of principal and fees comprising her current account balance, and further explain
the amount and rate of any accruing interest, fees, or charges. Plaintiff is wrong.
       As Your Honor recently explained, “the Avila decision, in creating its safe-harbor
provision, does not require the debt collector to disclose the amount of continually accruing interest
and fees. Recognizing that this would be a moving target as interest accrues at specified intervals
and amounts, the Second Circuit’s safe harbor only requires the collection company to say
that there ‘may be’ such fees.” Islam v. American Recovery Servs. Inc., 2017 WL 4990570, *3
(E.D. N.Y. Oct. 31, 2017) (emphasis added).
       Plaintiff fails to state a claim under the FDCPA against CMS. The Court should dismiss
her complaint.
                                    LAW AND ARGUMENT
   A. CMS’ Letter Complies with the FDCPA by Providing the Balance as of the Date of the
      Letter and Disclosing that Interest and Fees May Continue to Accrue Using the Exact
      Safe Harbor Disclosure Endorsed by the Second Circuit in Avila
        Plaintiff claims that the FDCPA requires CMS to provide “an explanation, understandable
by the least sophisticated consumer, of any fees or interest that may cause the balance to increase
at any time in the future,” including, inter alia, the “amount,” “rate,” and “nature” of any interest
or fees that may be added to the debt per day, week, and month. See ECF 1, ¶¶ 30-47.
         The actual text of the FDCPA, however, does not require such detailed
disclosures. Section 1692g expressly sets forth the disclosures a debt collector must make in its
initial communication with a consumer, and it merely requires a debt collector to state “the amount
of the debt,” i.e., the balance on the date the letter is sent. Section 1692e only requires a debt
collector to refrain from making “false, deceptive, or misleading” statements about a debt. In fact,
plaintiff does not assert that the amount of the debt, interest, and/or fees listed in CMS’s letter
were inaccurate. She merely argues that CMS must provide her with more information than the
statute expressly requires.
         However, the Second Circuit has already ruled such detailed disclosures concerning the
amount and rate of interest and fees are unnecessary. In Avila, the Second Circuit concluded that,
when interest and fees are accruing on a debt, a debt collector is not subject to FDCPA liability for
failing to disclose that interest and fees may continue to accrue by using a “safe harbor” disclosure,
such as the disclosure used specifically approved by the Second Circuit and used verbatim by
CMS. See Avila, 817 F.3d at 77. Moreover, the Second Circuit in Avila affirmatively rejected the
argument that a debt collector must include detailed information concerning the amount and rate
of interest and fees accruing on the debt, noting that while such detailed information may, in some
cases, be preferable, it is not required. Id.
   Case 1:17-cv-07499-BMC Document 10 Filed 02/07/18 Page 3 of 3 PageID #: 38




Yuri Kolbasyuk v. Capital Management Services, LP, EDNY Case No. 1:17-cv-07499-BMC
Capital Management Services, LP’s Pre-Motion Conference Letter re: Proposed Motion to Dismiss
February 7, 2018 – Page 3

        CMS’s letter lists the amount of the debt as of the date of the letter and disclosing that
interest and fees may be added using the exact disclosure endorsed by the Second Circuit in Avila.
Plaintiff’s argument that a debt collector violates the FDCPA by not providing additional detail
about the amount, rate, and nature of the interest and fees was affirmatively rejected by the Second
Circuit and should be rejected by this Court.
      B. Carlin v. Davidson Fink LLP is Neither Applicable nor Controlling
        Plaintiff claims that regardless of what the Second Circuit held in Avila, debt collectors
must actually disclose the amount of continually accruing interest and fees based on her misreading
of a different Second Circuit decision, Carlin v. Davidson Fink LLP, 852 F.3d 207 (2d Cir. 2016).
In Carlin, the Second Circuit was called upon to consider an entirely different type of letter – a
payoff statement that listed the future balance of the debt based on estimated interest and fees not
yet incurred. Carlin, 852 F.3d at 211. The Second Circuit determined that, if the letter provides
an estimate of the future balance of the debt based on estimated interest and fees not yet incurred,
the debt collector must provide more than the Avila disclosures; in those cases, it must breakdown
the estimated fees and charges to the consumer. Id. at 216.
        Simply, Avila applies when the collection letter simply gives the balance as of the date of
the letter and states that interest and fees may accrue on the debt. Carlin applies when the debt
collector lists the future balance of the debt based on estimated interest, fees, or charges, e.g., a
payoff statement. Indeed, the Second Circuit in Carlin expressly distinguished between the two
scenarios: “We are not ignorant of the safe-harbor statement we formulated in Avila. . . . However,
the Payoff Statement [in Carlin] only expresses that the Total Amount Due may include estimated
fees and costs.” Id. at 216-17 (emphasis in original).
        Here, CMS’s letter simply provides the balance as of the date of the letter, without any
estimated or future interest or fees, and states that interest and fees may accrue by using, verbatim,
the safe harbor endorsed by the Second Circuit. Avila controls, and CMS’ letter unquestionably
complies with the standard set out by the Second Circuit in Avila.
                                                                      CONCLUSION
       CMS’ letter complies with the FDCPA; CMS therefore respectfully requests a pre-motion
conference to discuss its proposed FED. R. CIV. P. 12(b)(6) Motion to Dismiss.
                                                                             Very truly yours,

                                                                             Kirsten H. Smith
                                                                             SESSIONS, FISHMAN, NATHAN & ISRAEL
                                                                             Counsel for Defendant,
                                                                             Capital Management Services, LP
cc:          Daniel C. Cohen, Esq. (via ECF)
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